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                                                          FILED
                                                            FEB 13 2017
                                                         Clerk, U S District Court
                                                           District Of Montana
                                                                  Billings


                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          BILLINGS DIVISION

 UNITED STATES OF AMERICA,                 CR 17-04-BLG-SPW-1, -4

                        Plaintiff,
                                           ORDER
          vs.

 CAMERON EMMANUEL
 FALLS DOWN, aka Cameron
 Emmanuel Gutierrez,
 PEARLIEJO SAMANTHA
 OLD DWARF,
 JAYLEN MIGUAL
 MEDICINE BULL, and
 JERRAY EUGENE ROWLAND,

                    Defendants.


     Upon the United States' Motion by Interlineation to Change the Name

DRAVEN PATRICK ROWLAND to JERRAY EUGENE ROWLAND and the

name CAMERON EMANUEL FALLS DOWN to CAMERON EMMANUEL

FALLS DOWN aka Cameron Emmanuel Gutierrez (Doc. 30) throughout the

indictment, and for good cause being shown,


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     IT IS HEREBY ORDERED that the name DRAVEN PATRICK

ROWLAND will be changed to JERRAY EUGENE ROWLAND and the name

CAMERON EMANUEL FALLS DOWN to CAMERON EMMANUEL

FALLS DOWN aka Cameron Emmanuel Gutierrez throughout the indictment.

     DATED this    /c$~y of February, 2017.

                                 ~eJ~
                                  SUSANP. WATTERS
                                  United States District Judge




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